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                                                                                1   LAGOMARSINO LAW
                                                                                    ANDRE M. LAGOMARSINO, ESQ. (#6711)
                                                                                2   CORY M. FORD, ESQ. (#15042)
                                                                                    3005 W. Horizon Ridge Pkwy., #241
                                                                                3   Henderson, Nevada 89052
                                                                                    Telephone: (702) 383-2864
                                                                                4   Facsimile: (702) 383-0065
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                                                                                    Attorneys for Plaintiff Angela Evans
                                                                                6
                                                                                                                     UNITED STATES DISTRICT COURT
                                                                                7
                                                                                                                          DISTRICT OF NEVADA
                                                                                8
                                                                                    ANGELA EVANS, individually;
                                                                                9                                                        CASE NO.:       2:20-cv-00986-RFB-VCF
                  3005 W. Horizon Ridge Pkwy., #241, Henderson, Nevada 89052




                                                                                                        Plaintiff,
                     Telephone (702) 383-2864 Facsimile (702) 383-0065




                                                                               10                                                        Consolidated for discovery only with:
LAGOMARSINO LAW




                                                                                                            v.                           CASE NO.: 2:20-cv-01919-RFB-VCF
                                                                               11
                                                                                    NYE COUNTY, a political subdivision of the
                                                                               12   State of Nevada; DAVID BORUCHOWITZ, STIPULATION AND ORDER TO VACATE
                                                                                    individually,                              THE JOINT PRETRIAL ORDER DEADLINE
                                                                               13
                                                                                                       Defendants.
                                                                               14
                                                                                    ANGELA EVANS,
                                                                               15
                                                                                                        Plaintiff,
                                                                               16
                                                                                                            vs.
                                                                               17
                                                                                    VALLEY ELECTRIC ASSOCIATION, INC.;
                                                                               18   DOES I through X; and ROE Corporations XI
                                                                                    through XX, inclusive,
                                                                               19
                                                                                                                                                    28




                                                                                                       Defendants.
                                                                               20

                                                                               21          Plaintiff   ANGELA         EVANS      and    Defendants       NYE    COUNTY   and     DAVID
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                                                                               22   BORUCHOWITZ (“the Parties”), by and through their respective attorneys of record, hereby

                                                                               23   stipulate to vacate the current Joint Pretrial Order deadline in this matter.

                                                                               24          WHEREAS, on September 21, 2021, the Court granted the Parties request for an extension

                                                                               25   of the dispositive motion deadline to November 4, 2021. However, the Joint Pretrial Order

                                                                               26                                                 Page 1 of 2
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                                                                                1   (“JPTO”) deadline remained set for November 3, 2021. (ECF No. 58).

                                                                                2          WHEREAS, defense counsel has indicated they will be filing a dispositive motion for

                                                                                3   summary judgment by the currently set deadline of November 4, 2021.

                                                                                4          WHEREAS, the current JPTO deadline of November 3, 2021 only applies if dispositive

                                                                                5   motions are not filed and can be extended by Order of the Court. (ECF No. 58 at 2:5-8).

                                                                                6          IT IS HEREBY STIPULATED, for the purposes of judicial economy, that the JPTO

                                                                                7   deadline shall be vacated.

                                                                                8          IT IS SO STIPULATED.

                                                                                9   DATED this 1st day of November, 2021.            DATED this 1st day of November, 2021.
                  3005 W. Horizon Ridge Pkwy., #241, Henderson, Nevada 89052
                     Telephone (702) 383-2864 Facsimile (702) 383-0065




                                                                               10   LAGOMARSINO LAW                                  MARQUIS AURBACH COFFING
LAGOMARSINO LAW




                                                                               11     /s/ Andre M. Lagomarsino           .              /s/ James A. Beckstrom                .
                                                                                    ANDRE M. LAGOMARSINO, ESQ. (#6711)               CRAIG R. ANDERSON, ESQ. (#6882)
                                                                               12   CORY M. FORD, ESQ. (#15042)                      JAMES A. BECKSTROM, ESQ. (#14032)
                                                                                    Attorneys for Plaintiff Angela Evans             Attorneys for Defendants
                                                                               13   in Case No. 2:20-cv-01919-RFB-VCF                Nye County and David Boruchowitz
                                                                                                                                     in Case No. 2:20-cv-01919-RFB-VCF
                                                                               14
                                                                                           IT IS SO ORDERED.
                                                                               15
                                                                                                   11-5-2021
                                                                                           Dated: _________________________.
                                                                               16
                                                                                                                                    __________________________________________
                                                                               17                                                   UNITED STATES MAGISTRATE JUDGE

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